                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


BRAD SIMENZ,

              Plaintiff,
                                                      Case No. 07-C-0601
v.

AMERIHOME MORTGAGE
COMPANY, L.L.C.,

              Defendant.


             BRIEF IN SUPPORT OF PLAINITFF’S MOTION TO REMAND


       COMES NOW the plaintiff, by his attorneys, Urban & Taylor s.c., and for his

Motion to Remand states as follows:

                                        INTRODUCTION

       On July 30, 2007, plaintiff objected to the removal of the instant matter and

moved for remand under 28 U.S.C. § 1447(c). Should this court find that defendant has

met the criteria set forth in 28 U.S.C. §1332(d)(2), removal is still not appropriate. This

above-captioned matter was initially filed as a state class action in Milwaukee County

Circuit Court on May 22, 2007. The state class action Complaint set forth allegations

against the defendant under Wisconsin Statutes Chapter 224, entitled “Miscellaneous

Banking and Financial Institution Provisions.” See generally Complaint.

       Plaintiff did not bring any federal claims in this Complaint. Id. In fact, when

addressing the only potential federal realm of these claims stated:

       The giving by MERS members, such as Defendant Amerihome, and acceptance by
       MERS of the $3.95 MERS registration fee violates 12 U.S.C. § 2607(b) of the Real Estate
       Settlement Procedures Act (RESPA). Such allegation is not intended to set forth a claim




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       for relief pursuant to RESPA, but rather to support the plaintiff’s allegations that
       Amerihome has violated Wis. Stat. § 224.77(k).

Id. at ¶ 35.

       Nonetheless, defendant Amerihome Mortgage Company, L.L.C. (“Amerihome”)

filed a Notice of Removal pursuant to 28 U.S.C. §1332(d)(2) on June 29, 2007 and it

was served via mail on plaintiff’s counsel on July 2, 2007. In its Notice of Removal,

defendant does not address 28 U.S.C. §1332(d)(3) or § 1332(d)(4). For the reasons,

set forth below, plaintiff requests that this court remand this case back to the Milwaukee

County Circuit Court.


I.     Remand is Proper Under Provisions of the Class Action Fairness Act of
       2005

       In its Notice of Removal, defendant does not address 28 U.S.C. §1332(d)(3) or

28 U.S.C. §1332(d)(4).        Application of these other provisions of the Class Action

Fairness Act of 2005 to the case at bar demonstrates that removal should be declined

and this case should instead be remanded to state court.

       There are three exceptions to removal set forth in §§1332(d)(3) and 1332(d)(4).

Preston v. Tenet Healthsystem Memorial Medical Ctr, 07-30132 (5th Cir. 2007). They

are known as the A) home state exception found in §1332(d)(4)(B); B) the local

controversy exception found in §1332(d)(4)(A); and C) discretionary jurisdiction found in

§1332(d)(3).      Id.   The language of §1332(d)(4) is mandatory, in contrast with the

permissive language of §1332(d)(3). Hart v. FedEx Ground Pack., Sys., Inc. 457 F.3d

at 681.        The party seeking remand under these provisions has the burden of

persuasion. Id. at 681.




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        A. Local Controversy Exception

        In the case at bar, the local controversy exception of 28 U.S.C. § 1332(d)(4)(A) is

applicable. It mandates that the federal district court decline jurisdiction over a class

action in which:

        …(I) greater than two-thirds of the members of all proposed plaintiff classes in the
        aggregate are citizens of the State in which the action was originally filed; (II) at least 1
        defendant is a defendant---(aa) from who significant relief is sought by members of the
        plaintiff class; (bb) whose alleged conduct forms a significant basis for the claims
        asserted by the proposed plaintiff class; and (cc) who is a citizen of the State in which the
        action was originally filed; and (III) Principal injuries resulting from the alleged conduct or
        any related conduct of each defendant were incurred in the State in which the action was
        originally filed; and (ii) during the 3-year period preceding the filing of that class action, no
        other class action has been filed asserting the same or similar factual allegations against
        any of the defendants on behalf of the same or other persons…

Id. Plaintiff can meet the criteria set forth in § 1332(d)(4)(A) in this case.

            1. Greater Than Two-Thirds of the Plaintiff Class are Citizens of
               Wisconsin

        The first criteria for mandatory remand pursuant to § 1332(d)(4)(A)(I) is that

“greater than two-thirds of the members of all proposed plaintiff classes in the aggregate

are citizens of the State in which the action was originally filed.”                   In this case, plaintiff

can meet its burden to establish the presumption that two-thirds of the class members

are citizens of Wisconsin. Therefore, without proof to the contrary, this court should

deny removal and instead remand this case.

        This case was originally filed in Wisconsin state court. The Complaint alleges

that:

        The class that Mr. Simenz represents, and of which he is himself a member, consists of
        all persons who, within two years prior to the date of commencement of this action,
        closed a mortgage loan with Amerihome and were charged a MERS Registration Fee in
        connection with a mortgage loan secured by property within the State of Wisconsin.




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Complaint, ¶5. Further, it states:
       The exact number of members of the class, as identified and described above, is not
       known, but it is estimated that there are not less than 1,000 members, who reside in
       several counties within the State of Wisconsin. It is impracticable to bring them all before
       this Court…

Id. at ¶6.   Clearly, the Complaint contemplates that the class members purchased

property and reside within the state of Wisconsin.

       If the allegations in the Complaint are insufficient to establish the citizenship of

the class members, our neighboring court in the Southern District of Illinois addressed

the issue of the required proofs of each of the parties.                     See Kitson v. Bank of

Edwardsville, Civil No. 06-528-GPM (S.D.Ill. 11-22-2006). That case involved a class

action based on state law claims against a local bank that allegedly improperly

calculated interest on loans. Id. at 1.

       In addressing whether the plaintiff met its burden under § 1332(d)(4)(A)(I), the

court found that class members’ Illinois mailing addresses provided evidence of Illinois

citizenship. Id. at 12. Although the court recognized that citizenship is determined by

domicile and evidence of residence in Illinois is insufficient to prove domicile, “it

nonetheless creates a rebuttable presumption of domicile in Illinois.”                     Id. at 12-13.

Further, because the defendants did not present evidence that the class members were

not domiciled at their Illinois mailing addresses, the court concluded that it was therefore

entitled to assume that they are domiciled at those addresses. Id. at 13.

       The court recognized that the evidence regarding citizenship was not “perfect.”

Id. at 14. However, it stated that the “record is not required be perfect, but plaintiff must

only show that it is more likely than not that two-thirds of the class members are Illinois

citizens.” Id. The court found that the § 1332(d)(4)(A)(I) criteria were met along with the




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other criteria under § 1332(d)(4)(A) and remanded case back to state court. See

generally Id.

       In Mattera v. Clear Channel Communications, Inc., 06 Civ. 01878, (S.D.N.Y. 11-

14-2006), the court in the Southern District of New York also addressed remand

pursuant to the local controversy rule. The case involved a class action brought under

New York law challenging the legality of a charge back to sales representatives by their

employer, Clear Channel. See generally Id. Although the party seeking remand did not

provide affidavits or other evidence of citizenship, the court simply found that that “it is

reasonably likely that more than two-thirds of the putative class members of the

proposed class—all of whom work in New York—are citizens of New York. Id. at 26.

       The Fifth Circuit has likewise addressed the issue of proof of citizenship for

satisfying the requirements of § 1332(d)(4)(A)(I). See Preston v. Tenet Healthsystem

Memorial Medical Center Ctr., 07-30132 (5th Cir. 2007). In that case, the court was

somewhat more skeptical than the courts referenced above, as the potential class of

plaintiffs were Hurricane Katrina victims many of whom were disbursed to other states

by the hurricane. Id. at 10-13. Thus, the court was not willing to accept addresses taken

from medical records on the date of the hurricane as the sole proof to establish

residency. Id. at 12-13.

       However, the Preston court suggested that in order to establish citizenship under

the statute, the court could consider “places where the litigant exercises civil and

political rights, pays taxes, owns real and personal property, has driver’s and other

licenses, maintains bank accounts, belongs to clubs and churches, has places of

business or employment, and maintains a home for his family.” Id. at 11. (Citation




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omitted). Further, the court recognized that once domicile is established, there is a

presumption in favor of continuing domicile, which the partying seeking to show a

change of domicile must overcome. Id. at 11.

        In the case at bar, like the Mattera court recognized, the only individuals who

would have standing to assert the Wisconsin Statute Chapter 224 violations set forth in

the Complaint would be those who have purchased property in the State of Wisconsin

through a mortgage with defendant Amerihome in six years prior to the filing of the

Complaint and who were subject to the charges described in the Complaint. This alone

should be enough to establish the two-third residency requirement as it is highly unlikely

that more than one third of individuals who have obtained a mortgage through

Amerihome in the state of Wisconsin in the past six years do not reside in Wisconsin.

        Additionally, plaintiff’s counsel has performed additional inquiries into this issue.

Plaintiff’s counsel has pulled information from a public records search site for the

Milwaukee County Register of Deeds1, encompassing all mortgages recorded by

Amerihome from April 19, 2006 through February 23, 2007. Affidavit of Scott B. Taylor

at ¶6. For all of these mortgages, plaintiff’s counsel was able to obtain county and/or

city tax information or the recorded deeds to the property to establish that the over 98

percent of the individuals who held mortgages with Amerihome during this time period

reside in the State of Wisconsin. See, Exhibits 1-86, attached to the Affidavit of Scott B.

Taylor. In fact, of the eighty-three individuals and/or couples that constitute part of the




1
     The     search    site,    known     as    Tapestry,      whose       website     address    is     located  at:
https://www.landrecords.net/tapsearch.aspx, provides access to county-recorded land records, including those of
Milwaukee County. According to their website, Tapestry seamlessly provides access to index information, mortgages,
deeds and other documents in real-time fashion. See, Affidavit of Scott B. Taylor in Support of Motion to Remand.




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proposed plaintiff’s class, eighty-two of the individuals and/or couples currently reside in

the State of Wisconsin. See, Affidavit of Scott B. Taylor at ¶17.

       Based on the foregoing, plaintiff has clearly established the requisite criteria

under 28 U.S.C. § 1332(d)(4)(A)(I) for this court to find that two-thirds of the plaintiff

class are citizens of Wisconsin. If defendant contests the same, it is now defendant’s

obligation to rebut the presumption of citizenship with evidence to the contrary.

Therefore, for the reasons stated below, plaintiff requests that this court remand this

case to back to Wisconsin state court.

       2. At Least One Defendant is a Citizen of Wisconsin Whose Conduct
          Forms the Basis for Plaintiff’s Claims and Requested Relief

       The second criteria for mandatory remand under the local controversy exception

to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(4)(A)(II), addresses the

defendant. Specifically it states that at least one defendant must be a defendant:

       (aa) from who significant relief is sought by members of the plaintiff class; (bb) whose
       alleged conduct forms a significant basis for the claims asserted by the proposed plaintiff
       class; and (cc) who is a citizen of the State in which the action was originally filed.

Id. Plaintiff is able to establish these criteria with regard to defendant Amerihome in this

case. Therefore, this court must remand this case to Wisconsin state court.

       Defendant Amerihome is a limited liability company. See Exhibit 87, Affidavit of

Scott B. Taylor at ¶101. This court has recognized that the citizenship of a limited

liability company is not its state of formation and principal place of business, but rather

the citizenship of each of its members.               Alliance Laundry Syst. v. Thyssenkrupp

Materials, NA, Case No. 07C0589, (E.D. Wis. 6-29-2007). In this case, Amerihome has

represented that Nicholas Del Torto is an individual citizen of Wisconsin. Notice of

Removal, ¶ 5. Thus, plaintiff can meet the third prong related to the defendant under 28




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U.S.C. § 1332(d)(4)(A)(II) as Mr. Del Torto is an a citizen of the state in which the action

was filed.

       Additionally, plaintiff can establish that that Mr. Del Torto was a “significant

defendant.” A “‘significant defendant’ is one who has [a] significant role in conduct

alleged in the complaint relative to the other defendants, and one against whom the

relief sought is [a] significant portion sought by the entire class.”     Mattera v. Clear

Channel Communications, Inc., 06 Civ. 01878, (S.D.N.Y. 11-14-2006). (Citations

omitted). Mr. Del Torto is president and CEO of Amerihome as well as its registered

agent for service of process at its principal office in Brookfield, Wisconsin. See Exhibits

87 and 88, Affidavit of Scott B. Taylor at ¶ 101-102. Mr. Del Torto is also a registered

loan originator in the state of Wisconsin.       Id. at Exhibit 90. Further, Amerihome

represents that it was the fifth largest lender in Milwaukee for 2002 and that in 2003,

Broker Magazine ranked Amerihome as the fourth largest mortgage broker nationally.

Id. at Exhibit 89. In 2006, Amerihome represented that it was the fifth largest area

mortgage banking company. As a result of his position in the company, his position as

a mortgage broker and loan originator and the location and reputation of his company, it

can be concluded that Mr. Del Torto’s conduct forms a significant basis for the plaintiff’s

claims and relief is sought from him.

       Therefore, for the reasons stated above, plaintiff requests that this court remand

this case to Wisconsin state court as plaintiff has met all of the criteria of 28 U.S.C. §

1332(d)(4)(A)(II).




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       3. Plaintiff’s Principal Injuries Occurred in Wisconsin

       Pursuant to 28 U.S.C. § 1332(d)(4)(A)(III) plaintiff can easily establish that the

“principal injuries resulting from the alleged conduct or any related conduct of each

defendant were incurred in the State in which the action was originally filed.” As a result

this court should deny defendant’s Notice of Removal and remand this case to

Wisconsin state court.

       In Kitson, the Illinois court looked for the meaning of “principal injury” under the

statute, but acknowledged that the terms were not defined.                         Kitson v. Bank of

Edwardsville, 06-528-GPM at 16. Therefore, according the 7th Circuit, it reasoned that

the terms must be given their ordinary and plain meanings.                      Id. citing Sanders v.

Jackson, 209 F.3d 998, 1000 (7th Cir. 2000). The Illinois court stated:

       According to a leading legal dictionary, “principal” in its adjectival sense means “[c]hief;
       primary; most important,” while an “injury” means “[t]he violation of another’s legal right,
       for which the law provides a remedy; a wrong or injustice.”

       Id. citing Black’s Law Dictionary (8th ed. 2004). Further, in Mattera, because the

harm claimed was in violation of New York state wage law, even though the charges

complained of were implemented nationwide, the New York court held that individuals in

other states would not have standing to raise claims under New York law, so “the

principal injuries suffered are limited to New York and are therefore local in nature.”

Mattera v. Clear Channel Communications, Inc., 06 Civ. 01878 at 25.

       Likewise, in the case at bar the principal injuries occurred in Wisconsin. This

case only impacts purchasers of mortgages through Amerihome secured by property in

the state of Wisconsin. Like Mattera, purchasers of mortgages through Amerihome

secured by property outside of Wisconsin would not have standing to raise Wisconsin

State Chapter 224 claims.           The class plaintiffs in this case have been injured by



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defendant’s violations of Wisconsin Statutes Chapter 224 and are entitled to damages

as set forth in the Complaint and Wisconsin Statutes Chapter 224.

       Therefore, this Court should find that plaintiff has satisfied this provision of 28

U.S.C. § 1332(d)(4)(A)(i)(III) and remand this case to Wisconsin State Court.

       4. No Other Similar Class Action Has Been Filed in the Past Three Years

       Finally, § 1332(d)(4)(A)(ii) requires that no other class action similar in facts or

parties has been filed in three years prior to filing of the present class action. The class

action at bar is unique in that it involves claims made strictly under Wisconsin law by

those individuals having standing to assert such claims. See Complaint. As such, there

have been no other similar cases filed involving Amerihome or involving plaintiff Simenz

in Wisconsin State Court or in either the Eastern or Western District Federal Courts of

Wisconsin under similar facts for claims under Wis. Statutes Chapter 224. See Affidavit

of Scott B. Taylor at Exhibits E and F. Therefore, this Court can easily conclude and

should find that plaintiff has satisfied this provision of 28 U.S.C. § 1332(d)(4)(A)(ii) and

that remand to Wisconsin State Court is appropriate in this case.

       B. Discretionary Remand

         In addition to mandatory remand, pursuant to 28 U.S.C. § 1332(d)(3), a district

court may, “in the interests of justice and looking at the totality of the circumstances”

decline to exercise jurisdiction factoring in certain criteria set forth in the statute. Based

on these factors, many of which have been described in detail above, it is clear that this

court should exercise its discretion to remand this case to Wisconsin state court.

       First, the discretionary statute only mandates that “…greater than one-third but

less than two-thirds of the members of all proposed plaintiff classes in the aggregate




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and the primary defendants are citizens of the State in which the action was originally

filed…”    Above, plaintiff has established that two-thirds of the class members are

citizens of Wisconsin and that the primary defendant, the president, CEO and registered

agent, Del Torto, are residents of the state of Wisconsin. The Fifth Circuit recognized

that there is presumption in favor of continuing domicile and the partying seeking to a

change in domicile must come forward with enough evidence to overcome this

presumption under the discretionary jurisdiction provision.                           Preston v. Tenet

Healthsystem Memorial Medical Ctr., 07-30132 at 22. Based on the evidence set forth

by plaintiff, it will be virtually impossible for defendant to establish that two-thirds of the

plaintiff class were not residing in Wisconsin at the time of the Complaint was filed.

       Second, the statute also indicates that the court should consider:

       (A) whether the claims asserted involve matters of national or interstate interest; (B)
       whether the claims asserted will be governed by laws of the State in which the action was
       originally filed or by the laws of other States; (C) whether the class action has been
       pleaded in a manner that seeks to avoid Federal jurisdiction; (D) whether the action was
       brought in a forum with a distinct nexus with the class members, the alleged harm, or the
       defendants; (E) whether the number of citizens of the State in which the action was
       originally filed in all proposed plaintiff classes in the aggregate is substantially larger than
       the number of citizens from any other State, and the citizenship of the other members of
       the proposed class is dispersed among a substantial number of States; and (F) whether,
       during the 3-year period preceding the filing of that class action, 1 or more other class
       actions asserting the same or similar claims on behalf of the same or other persons have
       been filed.

       Looking at the totality of the circumstances and these criteria, this case is most

appropriately venued in Wisconsin state court. The Complaint alleges Wisconsin state

law claims, which have no bearing on federal law or national or interstate issues. 28

U.S.C. § 1332(d)(3)(A) and (B). This case was brought in Wisconsin state court, as this

is the forum with the most distinct nexus to the class plaintiffs, the overwhelming

majority of whom live in Wisconsin, and most distinct nexus to the harm, where the facts

set forth in the Complaint occurred. Id. § 1332(d)(3)(D) and (E). Further, there are not




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other similar law class actions on the same claims. Id. § 1332(d)(3)(F) and Affidavit of

Scott B. Taylor at Exhibits 92 and 93.

       Therefore, even if this court does not conclude that remand is mandatory under

the local controversy rule of 28 U.S.C. § 1332(d)(4)(A), this court must find that plaintiff

has satisfied this provision of 28 U.S.C. § 1332(d)(3) for discretionary remand. As such,

plaintiff asks that this court remand this case to Wisconsin state court.

                                      CONCLUSION

       WHEREFORE, for the reasons state above, plaintiff requests that this court

remand this case back to Wisconsin state court where it was initially properly filed.

       Dated at Milwaukee, Wisconsin this 9th day of August, 2007.

                                   URBAN & TAYLOR s.c.


                                   /s/__________________________________
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